Plaintiff, transferee of the payee of a promissory note, sued thereon. The defense being fraud and failure of consideration, the question is of plaintiff's holding in due course. Defendant had verdict and judgment. Plaintiff has appealed.
Plaintiff was a holder in due course in the sum of $1,000 and interest unless the knowledge of fact of defense of one Brown, an officer of the payee and sometimes attorney for plaintiff, can be held to be imputed or chargeable to plaintiff. Even if Brown were attorney or agent of plaintiff, his interest in *Page 355 
transfer of the note was adverse to interest of plaintiff, and not imputable. The case is ruled by State Savings Bank of Ionia
v. Montgomery, 126 Mich. 327. See Peoples Savings Bank of WestBay City v. Hine, 131 Mich. 181; Tapert v.Lehmann, 259 Mich. 447.
Plaintiff was entitled to directed verdict for amount stated.
Reversed, with costs, and remanded for judgment accordingly.
McDONALD, C.J., and POTTER, SHARPE, NORTH, FEAD, WIEST, and BUTZEL, JJ., concurred.